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                                                                                                       E-FILED
                                                                  Tuesday, 27 September, 2022 04:05:11 PM
                                                                               Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  AT SPRINGFIELD


QUINYATTE HARRELL,

               Plaintiff,
                                                        Case No. 21-CV-2185-SEM-KLM
       v.

JUSTIN MOREAU, et al.

               Defendants.

            AGREED HIPAA QUALIFIED & GENERAL PROTECTIVE ORDER

       The parties to this Agreed HIPPA Qualified and General Protective Order have agreed to

the terms of this Order; accordingly, it is ORDERED:

      1.       Purpose.      Good cause exists for the entry of this protective order because

discovery in this case will involve the production and disclosure of personal and confidential

information, including personally identifiable information protected under the Health Insurance

Portability and Accountability Act of 1996 (“HIPAA”), Pub. L. No. 104-191, 110 Stat. 1936

(1996), and its relevant implementing regulation, 45 C.F.R. § 164.512. Discovery in this case will

involve the production and disclosure of private and confidential records or information protected

by the Privacy Act, 5 U.S.C. § 552a. The Court finds that disclosure of these types of information

by the parties is necessary to conduct discovery on the issues relevant to this case.

      2.       Disclosure Authorization.     Pursuant to 5 U.S.C. § 552a(b)(11) and 45 C.F.R. §

164.512(e), the Court authorizes the parties to produce information that would otherwise be

prohibited from disclosure under the Privacy Act or HIPAA. The Court further authorizes covered

entities to produce any protected health information sought by a party to this lawsuit pursuant to a

subpoena, discovery request, or other lawful process, 45 C.F.R. § 164.512(e)(1)(ii), as well as any
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protected health information for which this Court has specifically ordered or authorized

production. 45 C.F.R. § 164.512(e)(1)(i). For purposes of this order, the terms “covered entity”

and “protected health information” are defined in 45 C.F.R. § 160.103. The parties do not need to

present separate motions to this Court requesting release of such otherwise confidential

information. To the extent the Privacy Act and HIPAA allow the disclosure of information

pursuant to a Court order, this Order constitutes such a Court Order and authorizes the disclosure

of that information. This Protective Order also authorizes the parties to produce information

contained in, referenced in, or pertaining to Plaintiff’s claims in the lawsuit filed in case number

21-CV-2185. Nothing in this paragraph requires the production of information that is prohibited

from disclosure by other applicable privileges, statutes, regulations or authorities by which the

parties may be bound. Protected health information will not be filed under seal, unless the Court

grants a motion to seal filed by a party. CDIL-LR 5.10.

      3.       Confidential Information.     As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL INFORMATION” or “ATTORNEYS’

EYES ONLY” by the producing party that falls within one or more of the following categories: (a)

information prohibited from disclosure by statute; (b) information that reveals trade secrets; (c)

research, technical, commercial, law enforcement, or financial information that the party has

maintained as confidential; (d) medical information concerning any individual; (e) personal

identity information; (f) income tax returns (including attached schedules and forms), W-2 forms

and 1099 forms; (g) personal or employment records of a person who is not a party to the case; (h)

information containing the addresses, email addresses, and/or phone numbers of witnesses.

Information or documents that are available to the public may not be designated as Confidential

Information.    As per the Court’s September 7, 2022 Order, all discovery which reveals the




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addresses, email addresses, and/or phone numbers of witnesses shall be designated

“ATTORNEYS’ EYES ONLY.”              Any such documents shall also be produced on a non-

ATTORNEYS’ EYES ONLY basis with the addresses, email addresses, and/or phone numbers of

witnesses redacted. Otherwise, a designating party must have a compelling reason to mark

information “ATTORNEYS’ EYES ONLY” and thereby prevent review of that information by a

receiving party.

      4.       Designation.

               (a)    A party may designate a document as Confidential Information for
                      protection under this Order by placing or affixing the words
                      “CONFIDENTIAL INFORMATION” or “ATTORNEYS’ EYES ONLY”
                      on the document and on all copies in a manner that will not interfere with
                      the legibility of the document. As used in this Order, “copies” includes
                      electronic images, duplicates, extracts, summaries or descriptions that
                      contain the Confidential Information. The marking “CONFIDENTIAL
                      INFORMATION” or “ATTORNEYS’ EYES ONLY” shall be applied prior
                      to or at the time of the documents are produced or disclosed. Applying the
                      marking to a document does not mean that the document has any status or
                      protection by statute or otherwise except to the extent and for the purposes
                      of this Order. Any copies that are made of any documents marked
                      “CONFIDENTIAL INFORMATION” or “ATTORNEYS’ EYES ONLY”
                      shall also be so marked, except that indices, electronic databases or lists of
                      documents that do not contain substantial portions or images of the text of
                      marked documents and do not otherwise disclose the substance of the
                      Confidential Information are not required to be marked.

               (b)    If a Party disagrees with a designation of “Confidential Information,” it
                      shall provide the producing party written notice of its challenge and the
                      reasons why it believes the confidentiality designation was not proper. The
                      parties then must confer in good faith and attempt to resolve the issue. The
                      designating party must respond to the challenge within fourteen business
                      days. If the parties cannot resolve the dispute, they may file a motion with
                      the court that identifies the challenged material and sets forth in detail the
                      basis for the challenge. The producing party bears the burden of showing
                      that information is “Confidential” as defined herein and must show a
                      compelling reason to designate any document “ATTORNEYS’ EYES
                      ONLY”. Until the Court rules on the challenge, all parties shall continue to
                      treat the materials as Confidential Information under the terms of this Order.
                      Failure to challenge a designation immediately does not waive a party’s
                      ability to bring a later challenge.



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      5.       Depositions. “Confidential Information” contained in any statement made during

an oral deposition may be designated as “Confidential” through a statement made on the record.

The failure of any party to designate information as Confidential Information during a deposition

does not waive a party’s ability to later designate a statement or document used at a deposition as

Confidential Information. Within 60 days after a transcript is delivered to any party or the witness,

and any event no later than 90 days after testimony was given, a party may serve a Notice of

Designation to all parties as to specific portions of the testimony that are designated Confidential

Information and thereafter only those portions identified in the Notice of Designation shall be

protected by the terms of this Order. The failure to serve a timely Notice of Designation shall

waive any designation of testimony taken in that deposition as Confidential Information, unless

otherwise ordered by the Court. As per the Court’s September 7, 2022 Order, if the deponent is

asked to state the addresses, email addresses, and/or phone numbers of witnesses, the deponent

must be given the option to confidentially provide the information to counsel for the parties in

writing.

      6.       Protection and Disclosure of Confidential Information.

               (a)     Confidential Information shall not be used or disclosed by the parties,
                       counsel for the parties, or any other persons identified in subparagraphs (1)-
                       (9) below for any purpose whatsoever other than in this litigation, including
                       any appeal thereof.        If information is marked “CONFIDENTIAL
                       INFORMATION”, the parties and counsel for the parties shall not disclose
                       or permit the disclosure of any Confidential Information to any third person
                       or entity except as set forth in subparagraphs (1)-(9) below. If information
                       is marked “ATTORNEYS’ EYES ONLY”, counsel for the parties shall not
                       disclose or permit the disclosure of such designated information to any party
                       or any third party or entity except as set forth in subparagraphs (1), (3)-(9)
                       below. Subject to these requirements, the following categories of persons
                       may be allowed to review Confidential Information:

                       (1)     Counsel. Counsel for the parties and employees of counsel who have
                               responsibility for the action;




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                      (2)     Parties. Individual parties and employees of a party but only to the
                              extent counsel determines in good faith that the employee’s
                              assistance is reasonably necessary to the conduct of the litigation in
                              which the information is disclosed;

                      (3)     The Court and its personnel;

                      (4)     Court Reporters and Recorders. Court reporters and recorders
                              engaged for depositions;

                      (5)     Contractors. Those persons specifically engaged for the limited
                              purpose of making copies of documents or organizing or processing
                              documents, including outside vendors hired to process electronically
                              stored documents;

                      (6)     Consultants and Experts. Consultants, investigators, or experts
                              employed by the parties or counsel for the parties to assist in the
                              preparation and trial of this action;

                      (7)     Witnesses at depositions. During their depositions, witnesses in this
                              action to whom disclosure is reasonably necessary. Witnesses shall
                              not retain a copy of documents containing Confidential Information,
                              except witnesses may receive a copy of all exhibits marked at their
                              depositions in connection with review of the transcripts. Pages of
                              transcribed deposition testimony or exhibits to depositions that are
                              designated as Confidential Information pursuant to the process set
                              out in this Order must be separately bound by the court reporter and
                              may not be disclosed to anyone except as permitted under this Order.

                      (8)     Author or recipient. The author or recipient of the document (not
                              including a person who received the document in the course of
                              litigation); and

                      (9)     Others by Consent. Other persons only by written consent of the
                              producing party or upon agreement of the parties. If the parties
                              cannot come to an agreement, the party seeking disclosure may move
                              the Court for modification of this Protective Order to permit
                              disclosure.

               (b)    Control of Documents. Counsel for the parties shall make reasonable efforts
                      to prevent unauthorized or inadvertent disclosure of Confidential
                      Information.

      7.       Inadvertent Failure to Designate. An inadvertent failure to designate a document as

Confidential Information does not waive the right to so designate the document; however, a failure

to serve a timely Notice of Designation of deposition testimony as required by this Order, even if


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inadvertent, waives any protection for deposition testimony. If a party inadvertently fails to

designate material as “Confidential Information” at the time of production, it shall take reasonable

steps to notify all receiving persons of its failure within five business days of discovery. The

producing party shall promptly supply all receiving persons with new copies of any documents

bearing corrected confidentiality designations, and the receiving party shall return or destroy the

original materials, and certify in writing to the producing party that such information has been

destroyed.

      8.       Filing of Confidential Information.     This Order does not, by itself, authorize the

filing of any document under seal. Any party wishing to file a document designated as Confidential

Information in connection with a motion, brief or other submission to the Court must comply with

LR 5.10. As per the Court’s September 7, 2000 Order, home addresses, email addresses, and

telephone numbers of witnesses must be redacted when documents containing this information are

filed, absent a Court order allowing the public filing of the information. This requirement does

not apply to medical records containing the publicly available address of a medical provider.

      9.       No Greater Protection of Specific Documents.        Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that it

requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

      10.      Challenges by a Party to Designation as Confidential Information. Consistent with

paragraph 4(b), the designation of any material or document as Confidential Information is subject

to challenge by any party. The following procedure shall apply to any such challenge.

               (a)     Meet and Confer. A party challenging the designation of Confidential
                       Information must do so in good faith and must begin the process by
                       conferring directly with counsel for the designating party. In conferring, the
                       challenging party must explain the basis for its belief that the confidentiality



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                       designation was not proper and must give the designating party an
                       opportunity to review the designated material, to reconsider the designation,
                       and, if no change in designation is offered, to explain the basis for the
                       designation. The designating party must respond to the challenge within
                       fourteen (14) business days.

               (b)     Judicial Intervention. A party that elects to challenge a confidentiality
                       designation may file and serve a motion that identifies the challenged
                       material and sets forth in detail the basis for the challenge. Each such motion
                       must be accompanied by a competent declaration that affirms that the
                       movant has complied with the meet and confer requirements of this
                       procedure. The burden of persuasion in any such challenge proceeding shall
                       be on the designating party. Until the Court rules on the challenge, all parties
                       shall continue to treat the materials as Confidential Information under the
                       terms of this Order.

      11.      Action by the Court. Motions to the Court for an order relating to materials or

documents designated Confidential Information shall be by motion. Nothing in this Order or any

action or agreement of a party under this Order limits the Court’s power to make orders concerning

the disclosure of documents produced in discovery or at trial.

      12.      “No Contact Agreement.” Plaintiff Harrell agrees not to affirmatively approach

and contact the following third party witness: Lianne Oyler. This agreement does not include any

random contact that may occur in a public place and does not prevent Plaintiff Harrell from

electronically or telephonically attending Ms. Oyler’s deposition.

      13.      Use of Confidential Documents or Information at Trial. This Order does not

affect the use of any document, material, or information at any trial or hearing. A party that intends

to present or that anticipates that another party may present Confidential Information at a hearing

or trial shall bring that issue to the Court’s and parties’ attention by motion or in a pretrial

memorandum without disclosing the Confidential Information. The Court may thereafter make

such orders as are necessary to govern the use of such documents or information at trial.




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      14.      Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

               (a)     If a receiving party is served with a subpoena or an order issued in other
                       litigation that would compel disclosure of any material designated as
                       Confidential Information, the receiving party must notify the designating
                       party, in writing, immediately and in no event more than five court days
                       after receiving the subpoena or order. Such notification must include a copy
                       of the subpoena or court order.

               (b)     The receiving party also must immediately inform in writing the party who
                       caused the subpoena or order to issue in the other litigation that some or all
                       of the material covered by the subpoena or order is the subject of this Order
                       and provide a copy of this order to the requesting party.

               (c)     The purpose of imposing these duties is to alert the interested persons to the
                       existence of this Order and to afford the designating party in this case an
                       opportunity to try to protect its Confidential Information in the court from
                       which the subpoena or order issued. The designating party shall bear the
                       burden and the expense of seeking protection in that court of its Confidential
                       Information, and nothing in these provisions should be construed as
                       authorizing or encouraging a receiving party in this action to disobey a lawful
                       directive from another court. The obligations set forth in this paragraph
                       remain in effect while the party has in its possession, custody or control
                       Confidential Information by the other party to this case.

      15.      Challenges by Members of the Public to Sealing Orders. A party or interested

member of the public has a right to challenge the sealing of particular documents that have been

filed under seal, and the party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.

      16.      Obligations on Conclusion of Litigation.

               (a)     Order Continues in Force. Unless otherwise agreed or ordered, this Order
                       shall remain in force after dismissal or entry of final judgment not subject
                       to further appeal.

               (b)     Obligations at Conclusion of Litigation. Within sixty days after final
                       disposition of this action, all Confidential Information, including copies
                       thereof, shall be returned to the producing party or destroyed. However, the
                       receiving party shall not be required to locate, isolate and return e-mails
                       (including attachments to e-mails) that may include Confidential
                       Information.




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               (c)     Any party may request that another party certify in writing that all
                       documents have been returned or destroyed; such certification shall be
                       provided within 30 days of a request for certification.

               (d)     If a party fails to certify their compliance with this Order or otherwise fails
                       to comply with the Order, the requesting party may move the court to enforce
                       this order or to impose any sanction necessary to enforce the order.

               (e)     Retention of Work Product and one set of Filed Documents.
                       Notwithstanding the above requirements to return or destroy documents,
                       counsel of record may retain (1) attorney work product, including an index
                       that refers or relates to designated Confidential Information so long as that
                       work product does not duplicate verbatim substantial portions of
                       Confidential Information, and (2) one complete set of all documents filed
                       with the Court including those filed under seal. Any retained Confidential
                       Information shall continue to be protected under this Order. An attorney
                       may use his or her work product in subsequent litigation, provided that its
                       use does not disclose or use Confidential Information.

      17.      Order Subject to Modification. This Order shall be subject to modification by the

Court on its own initiative or on motion of a party or any other person with standing concerning the

subject matter. The Parties may modify this Protective Order through a written agreement signed

by counsel for all parties.

         So Ordered.                              s/Karen L. McNaught
Dated:
         9/27/2022                                    U.S. Magistrate Judge Karen L. McNaught


WE SO MOVE and agree to abide by the
terms of this Order



       /s/ James P. Gaughan                              /s/ Joshua I Grant
James P. Gaughan                                  Joshua I. Grant
Riley Safer Holmes & Cancila LLP                  Assistant United States Attorney
Counsel for and on behalf of Plaintiff            Counsel for and on behalf of Defendants Justin
Quinyatte Harrell                                 Moreau, Thomas Greiner, and Keith Kinney


Dated: September 15, 2022                         Dated: September 15, 2022



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